Case 2:04-Cv-02986-.]PI\/|-tmp Document 25 Filed 08/08/05 Page 1'0f3 Page|D 37

HHIIBY ` I&Q
IN THE UNITED STATES DISTRICT COURT

FoR THE wEsTERN DIs'rRIcT oF TENNESSEE __ _
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CLERK, U.S. WS?F“.‘@CT COURT

INTERNATIONAL PAPER coMPANY, W/D OI ';‘:~.: ?.-r::=l,E-PHZS

Plaintiff,
ve
NO. 04-2986 Ml/P
GAINEY TRANSPORTATION SERVICES,
INC.,

Defendant.

VV`JVV`IH`I~V`¢'

 

ORDER GRANTING JOINT MOTION TO AMEND SCHEDULING ORDER

 

Before the Court is the Joint Motion to Amend Scheduling
Order, filed July 25, 2005. Good cause having been shown, the
Court GRANTS the motion. The Court amends the scheduling order
in this case as follows:

COMPLETING ALL DISCOVERY:
(A) DOCUMENT PRODUCTIONS: OCtOber 21l 2005
(B) FACT DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR

ADMISSIONS: December 2 2005

 

(C) EXPERT WITNESS DISCLOSURE (Rule 26)
(l) Parties to exchange Rule 26 expert information on
matters for which each party has the burden of proof by
December 9, 2005.
(2) Parties to exchange rebuttal expert information by

December 30, 2005.

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(3) Expert Witness Depositions: January 20l 2006

FILING DISPOSITIVE MOTIONS: The deadline to file any dispositive
motions (including motions for summary judgment) shall be
Februarv 20. 2006.

TRIAL DATES:

Trial: Mondav, Mav 15. 2006. at 9:30 a.m. in courtroom no. 4.
Pretrial Conference: A pretrial conference is set for Mondayc May
8, 2006. at 9:00 a.m.

Pretrial Order: The pretrial order is due by no later than 4:30

p.m. on Mondav, Mav l, 2006.

So ORDERED this § day of August, 005.
CO
low §§

JON P. MCCALLA
UN ED STATES DISTRICT JUDGE

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:04-CV-02986 Was distributed by fax, mail, or direct printing on
August 9, 2005 to the parties listed.

 

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Honorable J on McCalla
US DISTRICT COURT

